      Case 17-22775-GLT       Doc 47-1 Filed 12/08/17 Entered 12/08/17 10:04:05              Desc
                                  Proposed Order Page 1 of 1
                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    IN RE:                                        Chapter 7 Proceeding
    Ronald L McFeaters
                           Debtor                 17-22775 GLT

    Natalie Lutz Cardiello, Esquire
                             Movant
    v.
    PENNYMAC LOAN SERVICES, LLC
                             Respondent


                                               ORDER


        Upon consideration of the Application to Employ (2)BK Global Real Estate Services and James
Keffalas as Realtor and PENNYMAC LOAN SERVICES, LLC's Objection to the same, it is hereby
ORDERED AND DECREED that the Chapter 7 Trustee’s Application to Employ (2)BK Global Real
Estate Services and James Keffalas as Realtor relating to the property located at 102 Ethan Hill Drive,
Harrisville, PA 16038 is hereby DENIED
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                                                           Gregory L. Taddonio
                                                           United States Bankruptcy Judge
